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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION


  UNITED STATES OF AMERICA )
             Plaintiff,    )
                           )
             vs.           )                           CAUSE NO. 4:05-CR-19-06-SEB-MGN
                           )
  GANINE M. HOARD          )
             Defendant     )



                   ORDER APPROVING AND ADOPTING MAGISTRATE
                     JUDGE’S REPORT AND RECOMMENDATION

         The Court, having considered the Magistrate Judge’s Report and Recommendation dated

  April 19, 2010, hereby approves and adopts it as an order of this Court.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the defendant’s

  supervised release is REVOKED. The defendant is committed to the Bureau of Prisons to serve

  a term of imprisonment of fifteen (15) months. Following the fifteen-month term of

  imprisonment, the defendant shall be placed on supervised release for a period of twenty-one

  (21) months. The Court recommends that the defendant’s term of imprisonment be served at the

  Federal Medical Center in Lexington, Kentucky, or at a facility as close to New Albany, Indiana,

  as possible. The defendant shall self surrender to the Bureau of Prisons to begin service of her

  sentence as notified by the U.S. Probation Office.


         04/20/2010
  Date: ________________

                                                       ___________________________________
                                                            _______________________________
                                                       SARAH    EVANS
                                                             SARAH    EVANSBARKER,        JUDGE
                                                                               BARKER, JUDGE
                                                             United States District Court
                                                       UnitedSouthern
                                                              StatesDistrict
                                                                       District     Court
                                                                              of Indiana
                                                       Southern District of Indiana
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  U.S. Marshal

  U.S. Probation
